           Case 1:19-cr-00158-PX Document 561 Filed 08/04/21 Page 1 of 1
                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA                   *

v.                                         *      Criminal Case No. PX-19-0158

OWEN NESMITH                               *

*      *      *        *    *       *      *      *        *     *      *      *       *

                           NOTICE TO STRIKE APPEARANCE

       Please strike the appearance of David Walsh-Little, Assistant Federal Public Defender, as

counsel for Owen Nesmith in the above-referenced matter.



Date: August 4, 2021
                                                            /s/
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